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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

 UNITED STATES OF AMERICA

        v.                                          Case No. 3:19-CR-25 JD

 MICHAEL LAMAR JACKSON


                                    OPINION AND ORDER

       Defendant Michael Lamar Jackson pled guilty to two counts of being a felon in

possession of a firearm and, on November 25, 2019, was sentenced to a 46-month term of

imprisonment. (DE 50.) He is currently serving his sentence in FCI Oxford with a release date of

July 25, 2022. On March 15, 2021, Mr. Jackson filed a letter with the court seeking

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). (DE 63.) Mr. Jackson also

requests that, in the alternative to granting compassionate release, the Court order he serve the

rest of his term of imprisonment under home confinement. (DE 63 at 1.) The Court referred his

motion to the Federal Community Defenders Office, which determined that it is unable to assist

Mr. Jackson. (DE 64; DE 65.) Therefore, the Court will consider Mr. Jackson’s own

submissions. The government filed medical records and a response in opposition arguing that

Mr. Jackson has not presented extraordinary and compelling reasons warranting compassionate

release, and the § 3553(a) factors do not favor release. (DE 68.) The government also argues that

the Court has no authority to transfer Mr. Jackson to home confinement. (DE 68 at 3.) Mr.

Jackson then filed a reply to the government’s response. (DE 71.)

       A court generally cannot modify a sentence once the sentence has been imposed. 18

U.S.C. § 3582(c). However, an exception to that general rule allows a court to modify a sentence,

after considering the factors under § 3553(a), if “extraordinary and compelling reasons warrant
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such a reduction,” the reduction is consistent with policy statements issued by the Sentencing

Commission, and the defendant has submitted such a request to the warden at least 30 days

before filing a motion or has fully exhausted all administrative rights within the Bureau of

Prisons. 18 U.S.C. § 3582(c)(1)(A). The application notes to the Sentencing Guidelines offer

some examples of when extraordinary and compelling reasons may be present. Those include

when the defendant is suffering from a terminal illness or is suffering from a serious physical or

medical condition that substantially diminishes his ability to provide self-care within the prison.

U.S.S.G. § 1B1.13 n.1; see also United States v. Gunn, 980 F.3d 1178, 1181 (7th Cir. 2020)

(finding the substantive aspects of U.S.S.G. § 1B1.13 and its Application Notes provide a

“working definition” of “extraordinary and compelling reasons” that can guide a court’s

discretion “without being conclusive”). Because Mr. Jackson submitted a request to the Warden

at least 30 days before filing his motion with the Court, pursuant to § 3582(c)(1)(A), which the

Warden denied (DE 63-1 at 2), the Court reviews the merits of the motion.

       First, the Court does not find that extraordinary and compelling reasons warrant

compassionate release or a reduction in sentence. In the context of the COVID-19 pandemic, “§

3582(c)(1)(A) contemplates a sentence reduction for specific individuals based on the

individuals’ particular circumstances of where he is housed and his personal health conditions.”

United States v. Council, 2020 WL 3097461, at *5 (N.D. Ind. June 11, 2020); see also United

States v. Melgarejo, 2020 WL 2395982, at *3 (C.D. Ill. May 12, 2020). In determining whether

there is an extraordinary and compelling reason to modify a term of imprisonment, the Court

may consider (1) the specificity of the defendant’s COVID-19 concerns, (2) whether the

defendant has a medical condition that makes him especially susceptible to the dangers of

COVID-19, (3) the age of the defendant, and (4) the extent that the defendant’s release would




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mitigate or aggravate the COVID-19 pandemic. See Council, 2020 WL 3097461, at *5–7; United

States v. Barrett, 2020 WL 3264112, at *3 (N.D. Ind. June 17, 2020); see also United States v.

Davis, 2020 WL 1951652, at *1–2 (N.D. Ind. Apr. 23, 2020) (applying similar factors to

consider whether there was a “compelling reason” for pretrial release due to the COVID-19

pandemic).

         In support of his motion, Mr. Jackson asserts that he has asthma. (DE 63 at 4.) The CDC

has included moderate to severe asthma among conditions that “can make you more likely” to

get severely ill from COVID-19. 1 However, nothing in Mr. Jackson’s medical records submitted

by the government indicate that he is currently receiving treatment for asthma or that his asthma

is moderate or severe. (DE 68-1.) Additionally, Mr. Jackson has already recovered from COVID-

19, which lowers his chance of reinfection. Mr. Jackson tested positive for COVID-19 on

October 8, 2020, and recovered from that infection on October 19, 2020. (Id. at 26.) The CDC

reports that “[c]ases of reinfection with COVID-19 have been reported, but remain rare.” 2 Mr.

Jackson’s age also indicates he is at a low risk of severe illness if reinfected with COVID-19.

Mr. Jackson is 28 years old. The Centers for Disease Control (“CDC”) reports that the risk of

severe illness from COVID-19 increases with age, and that while the greatest risk of severe

illness is among those aged 85 or older, adults aged 65 and older have increased risk. 3 Mr.

Jackson is far from this age range. Given Mr. Jackson’s age, his previous infection with COVID-

1
  See People with Certain Medical Conditions, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fneed-
extra-precautions%2Fgroups-at-higher-risk.html (last updated Aug. 20, 2021).
2
  See Reinfection with COVID-19, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/your-health/reinfection.html (last updated Aug. 6, 2021).
3
  See People with Certain Medical Conditions, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fneed-
extra-precautions%2Fgroups-at-higher-risk.html, (last updated Aug. 20, 2021); COVID-19 Risks and Vaccine
Information for Older Adults, Centers for Disease Control and Prevention,
https://www.cdc.gov/aging/covid19/covid19-older-adults.html (last visited Oct. 7, 2021).


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19, and that his medical records show no indication of moderate or severe asthma, the Court does

not believe Mr. Jackson is at an increased risk of severe illness if reinfected with COVID-19.

         A substantial portion of Mr. Jackson’s motion for compassionate release focuses on the

conditions at FCI Oxford, which he believes increase his risk of contracting COVID-19. (DE 63

at 1.) However, the BOP’s records have FCI Oxford currently reporting zero inmates and staff

members testing positive for COVID-19. 4 The facility also reports no deaths due to the virus.

Though Mr. Jackson criticizes the way his facility has handled the virus, the BOP has

implemented several precautions to help mitigate the spread. Of course, these precautions cannot

guarantee that the number of positive inmates will not increase in the prison, and some prisons

have experienced outbreaks despite those precautions, particularly as cases increased throughout

the country. Over the course of the COVID-19 pandemic, there have been 584 inmates and 80

staff members who have tested positive for the virus at FCI Oxford. 5 Fortunately, the number of

current cases is nonexistent, likely due to the BOP’s vaccine distribution efforts.

         The BOP has reported that it is in the process of distributing and administering the

COVID-19 vaccine to staff and inmates under the guidance of the CDC. As of October 7, 2021,

the BOP has administered 229,171 doses of the vaccine. 6 More specifically, as of October 7, FCI

Oxford has 576 inmates and 80 staff members fully inoculated. 7 This means fifty-nine percent of

the inmate population at FCI Oxford is fully vaccinated, greatly reducing the likelihood of

another spike in COVID-19 cases in the facility. 8 Mr. Jackson has not yet received the vaccine

and has not requested it. From the record, it’s unclear to the Court if he has refused a vaccination



4
  See Covid-19 Coronavirus, Federal Bureau of Prison, https://www.bop.gov/coronavirus/ (last visited Oct. 7, 2021).
5
  Id.
6
  Id.
7
  Id.
8
  FCI Oxford currently houses 981 total inmates. FCI Oxford, Federal Bureau of Prison,
https://www.bop.gov/locations/institutions/oxf/ (last visited Oct. 7, 2021).


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after being offered. However, while Mr. Jackson may not be vaccinated, the risk of the virus

spreading through his facility and infecting him again has likely declined given the high

percentage of fully immunized inmates in his facility. 9 This weighs heavily against release.

         Mr. Jackson also asserts that there are “compelling family circumstances” justifying a

sentence reduction. He argues that his mother needs help taking care of their 9-year-old niece

due to her old age and because she has been having trouble finding a babysitter during the

pandemic. (DE 63 at 4.) Some family circumstances can justify compassionate release, such as

the “death or incapacitation of the caregiver of the defendant’s minor child or children,” or “the

incapacitation of the defendant’s spouse or partner when the defendant would be their only

caregiver.” See United States v. Rodriguez, No. 2:18-CR-145, 2020 WL 5627451, at *2 (N.D.

Ind. Sept. 21, 2020) (citing United States Sentencing Guidelines § 1B1.13 cmt. n.1). The Court

understands Mr. Jackson’s concern for his mother and niece, but these circumstances do not

come close to the extraordinary and compelling reasons needed to justify compassionate release.

His mother, who is the primary caregiver to his niece, has not passed away, and the niece is not

his child. While Mr. Jackson describes his mother as elderly and asserts that she contracted

COVID-19, there is nothing to suggest she is incapacitated. While these circumstances may not

be ideal, they do not meet the high bar required for compassionate release.

         For the reasons explained above, the Court cannot find that extraordinary and compelling

reasons warrant compassionate release or a sentence reduction. Section 3582(c) provides the

only mechanism for modifying Mr. Jackson’s sentence since the Court cannot control the BOP’s

placement decisions, and because he is not entitled to relief under that provision, the Court

cannot grant that request.

9
 See Benefits of Getting a COVID-19 Vaccine, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/vaccines/vaccine-benefits.html (last updated Aug. 16, 2021).


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       Second, even if the above facts qualified as extraordinary and compelling reasons, the

Court would still deny the motion based on its consideration of the § 3553(a) factors. There are

several serious § 3553(a) factors that weigh against Mr. Jackson’s release. See United States v.

Ugbah, 4 F.4th 595, 596 (7th Cir. 2021) (finding it is sufficient for a court to provide one reason

adequate to support the denial of a motion under Section 3582(c)(1)). The nature and

circumstances of the instant offense was serious, involving Mr. Jackson, a convicted felon,

possessing multiple firearms on two separate occasions. On July 24, 2018, the police searched

Mr. Jackson’s apartment and found four different guns hidden under the dishwasher and stove,

two of which were stolen. (PSR, DE 42 at 9.) Police also found a pistol in his Ford Explorer.

(Id.) Then, on April 23, 2019, he was pulled over for speeding and the police found him with a

firearm that had a high-capacity magazine. (Id.) Mr. Jackson had previously been convicted of

attempted vehicular hijacking and aggravated unlawful restraint. (Id. at 8.). Additionally, Mr.

Jackson does not point to any changed circumstances that would alter the § 3553(a) analysis.

Therefore, the Court does not find that the § 3553(a) factors support Mr. Jackson’ compassionate

release.

       Mr. Jackson also requests that, in the alternative to granting his request for compassionate

release, the Court order he be transferred to home detention. However, the Court lacks the

authority to transfer Mr. Jackson to home confinement. A district court lacks “authority to

change [a prisoner’s] place of imprisonment.” United States v. Saunders, 986 F.3d 1076, 1078

(7th Cir. 2021) (finding that “the district court did not err by declining to review the merits of a

request [for home confinement] that it had no power to grant”). The authority to choose the place

of imprisonment for a prisoner rests with the BOP, even though the Court may recommend that

BOP place an offender in a particular facility. Tapia v. United States, 564 U.S. 317, 331 (2011)




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(“[T]he BOP has plenary control, subject to statutory constraints, over the place of the prisoner’s

imprisonment. . . .”)

       For those reasons, the Court DENIES Mr. Jackson’s motion for compassionate release or

home detention. (DE 63.)

       SO ORDERED.

       ENTERED: October 8, 2021

                                                            /s/ JON E. DEGUILIO
                                                     Chief Judge
                                                     United States District Court




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